                       IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               STATESVILLE DIVISION
                        CRIMINAL DOCKET NO. 5:06CR22-4 -RLV


UNITED STATES OF AMERICA,        )
               Plaintiff,        )
                                 )
            vs.                  )                               SCHEDULING ORDER
                                 )
JEREMIAH LAMAR TEAGUE            )
                                 )
           Defendant.            )
________________________________)


        THIS MATTER is before the Court on an Order (Doc. No. 1230) granting

Defendant’s Motion To Vacate, Set Aside, or Correct Sentence under 28 U.S.C. §

2255, (Doc. No. 1) in case 5:11CV145, filed on October 13, 2011, following a remand

from the Fourth Circuit Court of Appeals on the Government’s Motion to remand. 1

        IT IS, THEREFORE, ORDERED that:

        The Bureau of Prisons and the United States Marshals Service is hereby

ORDERED to transport and produce the body of JEREMIAH LAMAR TEAGUE (USM#

20970-058), for re-sentencing on December 7, 2016, at 10:00 AM, before the Honorable

Richard L. Voorhees, in the Western District of North Carolina, Statesville Courthouse,

200 West Broad Street, 2nd Floor Courtroom, Statesville, North Carolina, not later than

November 16, 2016, and upon completion of the re-sentencing hearing, Defendant is to

be returned to the custody of the Bureau of Prisons.


1 On October 26, 2015, the Fourth Circuit Court of Appeals remanded the case to the district court to
permit the Government an opportunity to present its argument in favor of relief for appellant. On
December 18, 2015, a Mandate from the Fourth Circuit Court of Appeals was filed in this matter. The
Government filed a response on August 22, 2016, in support of the Petitioner’s Motion to Vacate/Set
Aside/Correct Sentence under 28 U. S. C. § 2255.



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       The Clerk is directed to certify copies of this Order to the United States Attorney,

Defendant’s Counsel, the United States Marshal Service, and the United States

Probation Office.



 Signed: September 27, 2016




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